Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 1 of 62




                  EXHIBIT C
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U.S. PATENT: D604,305
ISSUE DATE: November 17, 2009




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                                      Certifying Officer




                                                                         JOINT TRIAL EXHIBIT NO. 1042
                                                                                United States District Court
                                                                               Northern District of California
                                                                               No. 11-CV-01846-LHK (PSG)
                                                                                  Apple Inc. v. Samsung Elecs.

                                                                          Date Admitted:__________ By:_________


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              Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 3 of 62




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(12) United States Design Patent (10) Patent No.:                                                                            US D604,305 S
       Anzures et al.                                                                      (45) ÛRte Of PateHt:             * *Nov. 17, 2009

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(75) Inventors: Freddy Anzures, San Francisco, CA                                            D569,383 S       5/2008 Jung et al,
                (US); Imran Chaudhri, San Francisco,                                         D574,009 S       7/2008 DelPonte
                CA (US)                                                                      D574,388 S *     8/2008 Armendariz et al. ....... DI4/486
(73) Assignee: Apple Inc., Cupertino, CA (US)                                                D.474,391 S * 8/2008 Kwag ........................ DI4/486
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(**) Term:      14 Years                                                                     D 79,946 S   11/2008 Lee et al.
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(21) Appl. No.: 29/281,460                                                                   D581,424 S   11/2008 Hong
                                                                                             D585,075 S    1/2009 Flynt et al.
(22) Filed:           Jun. 23, 2007                                                          D587,720 S * 3/2009 Noviello et al. ............ DI4/485
(51) LOC (9) Cl.                 ......................................... 32-00                   FOREIGN P        -     vo umen a
(52) U.S. Cl. ........................               ............. D14/486            JP              D1235127           4/2005
(58) Field of Classification Search .......... D14/485-95;
          D18/24-33; D19/6, 52; D20/11; D21/324-33;                                                       OTHER PUBLICATIONS
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       6,731,316 B2        5/2004 Herigstad et al.                                    Copies ofthis patent with a color drawing will be provided by
       D507,577 S *        7/2005 Totten et al. ............... D14/486               the Office upon request and payment of the necessary fee.
       6,983,424 Bl        1/2006 Dutta                                               FIG.1 is a front view ofa graphical user interface for a display
       DS40,340 S * 4/2007 Cummins .................. D14/486                         screen or portion thereof showing our new design; and,
       D544,875 S          6/2007 Wang et al.
       D548,239 S *        8/2007 Rimas-Ribikauskas                                   FIG. 2 is a front view of a second embodiment thereof.
                                     et al. ......................... D 4/485         The broken line showing of a display screen in both views
       DS52,620 S     * 10/2007 Sato et al. .................. D 4/486
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             Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 4 of 62




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     Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 5 of 62




U.S. Patent           Nov. 17, 2009            Sheet 1 of 2                   US D604 305 S




                                     FIG. 1



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     Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 6 of 62




U.S. Patent          Nov. 17, 2009            Sheet 2 of 2                    US D604 305 S




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                                  FIG. 2




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                  Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 7 of 62


                                             REPLACEMENT SHEET
                                             Sheet 1 of 2
                                             Appl. No. 29/281,460; Filed: June 23, 2007
                                             Dkt. No. 2607.0100000(P5548US1); Group Unit: 2911
                                             Tel. No. 202-371-2600
                                             For: Graphical User Interfaces For A Display Screen or Portion Thereof (as amended)




                                                                     FIG. 1




Highly Confidential - Attorneys' Eyes Only                                                                                              APLNDC-Y0000237385
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                  Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 8 of 62


                                             REPLACEMENT SHEET
                                             Sheet 2 of 2
                                             Appl. No. 29/281,460; Filed: June 23, 2007
                                             Dkt. No. 2607.0100000(P5548US1); Group Unit: 2911
                                             Tel. No. 202-371-2600
                                             For: Graphical User Interfaces For A Display Screen or Portion Thereof (as amended)




                                                                     FIG. 2




Highly Confidential - Attorneys' Eyes Only                                                                                              APLNDC-Y0000237386
                                                             Plaintiff's Exhibit No. 1042.8
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 9 of 62
                                                             Plaintiff's Exhibit No. 1042.9
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 10 of 62
                                                             Plaintiff's Exhibit No. 1042.10
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 11 of 62
                                                             Plaintiff's Exhibit No. 1042.11
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 12 of 62
                                                             Plaintiff's Exhibit No. 1042.12
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 13 of 62
                                                             Plaintiff's Exhibit No. 1042.13
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 14 of 62
                                                             Plaintiff's Exhibit No. 1042.14
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 15 of 62
                                                             Plaintiff's Exhibit No. 1042.15
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 16 of 62
                                                             Plaintiff's Exhibit No. 1042.16
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 17 of 62
                                                             Plaintiff's Exhibit No. 1042.17
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 18 of 62
                                                             Plaintiff's Exhibit No. 1042.18
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 19 of 62
                                                             Plaintiff's Exhibit No. 1042.19
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 20 of 62
                                                             Plaintiff's Exhibit No. 1042.20
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 21 of 62
                                                             Plaintiff's Exhibit No. 1042.21
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 22 of 62
                                                             Plaintiff's Exhibit No. 1042.22
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 23 of 62
                                                             Plaintiff's Exhibit No. 1042.23
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 24 of 62
                                                             Plaintiff's Exhibit No. 1042.24
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 25 of 62
                                                             Plaintiff's Exhibit No. 1042.25
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 26 of 62
                                                             Plaintiff's Exhibit No. 1042.26
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 27 of 62
                                                             Plaintiff's Exhibit No. 1042.27
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 28 of 62
                                                             Plaintiff's Exhibit No. 1042.28
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 29 of 62
                                                             Plaintiff's Exhibit No. 1042.29
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 30 of 62
                                                             Plaintiff's Exhibit No. 1042.30
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 31 of 62
                                                             Plaintiff's Exhibit No. 1042.31
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 32 of 62
                                                             Plaintiff's Exhibit No. 1042.32
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 33 of 62
                                                             Plaintiff's Exhibit No. 1042.33
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 34 of 62
                                                             Plaintiff's Exhibit No. 1042.34
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 35 of 62
                                                             Plaintiff's Exhibit No. 1042.35
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 36 of 62
                                                             Plaintiff's Exhibit No. 1042.36
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 37 of 62
                                                             Plaintiff's Exhibit No. 1042.37
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 38 of 62
                                                             Plaintiff's Exhibit No. 1042.38
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 39 of 62
                                                             Plaintiff's Exhibit No. 1042.39
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 40 of 62
                                                             Plaintiff's Exhibit No. 1042.40
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 41 of 62
                                                             Plaintiff's Exhibit No. 1042.41
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 42 of 62
                                                             Plaintiff's Exhibit No. 1042.42
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 43 of 62
                                                             Plaintiff's Exhibit No. 1042.43
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 44 of 62
                                                             Plaintiff's Exhibit No. 1042.44
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 45 of 62
                                                             Plaintiff's Exhibit No. 1042.45
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 46 of 62
                                                             Plaintiff's Exhibit No. 1042.46
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 47 of 62
                                                             Plaintiff's Exhibit No. 1042.47
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 48 of 62
                                                             Plaintiff's Exhibit No. 1042.48
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 49 of 62
                                                             Plaintiff's Exhibit No. 1042.49
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 50 of 62
                                                             Plaintiff's Exhibit No. 1042.50
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 51 of 62
                                                             Plaintiff's Exhibit No. 1042.51
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 52 of 62
                                                             Plaintiff's Exhibit No. 1042.52
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 53 of 62
                                                             Plaintiff's Exhibit No. 1042.53
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 54 of 62
                                                             Plaintiff's Exhibit No. 1042.54
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 55 of 62
                                                             Plaintiff's Exhibit No. 1042.55
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 56 of 62
                                                             Plaintiff's Exhibit No. 1042.56
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 57 of 62
                                                             Plaintiff's Exhibit No. 1042.57
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 58 of 62
                                                             Plaintiff's Exhibit No. 1042.58
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 59 of 62
                                                             Plaintiff's Exhibit No. 1042.59
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 60 of 62
                                                             Plaintiff's Exhibit No. 1042.60
Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 61 of 62
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Case 5:11-cv-01846-LHK Document 3592-6 Filed 02/23/18 Page 62 of 62
